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                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 9/11/2022
-----------------------------------------------------------------X
VALERIE DICKS, on behalf of herself and all others :
similarly situated,                                              :
                                                                 :
                                                  Plaintiff, :               1:22-cv-7653-GHW
                                                                 :
                              -v -                               :     MEDIATION REFERRAL ORDER
                                                                 :
MODA GROUP, LLC,                                                 :
                                                                 :
                                               Defendant. :
---------------------------------------------------------------- X
GREGORY H. WOODS, United States District Judge:
         It is hereby ORDERED that this case is referred for mediation to the Court-annexed

Mediation Program. The parties are hereby notified that Local Rule 83.9 shall govern the mediation

and are directed to participate in the mediation in good faith. The mediation should take place at

least two weeks prior to the Initial Pretrial Conference, which has been scheduled for December 19,

2022 at 4:30 p.m. by separate order to be entered today. The mediation will have no effect upon

any scheduling order issued by this Court without leave of this Court.

         SO ORDERED.

 Dated: September 11, 2022                                     _____________________________________
 New York, New York                                                     GREGORY H. WOODS
                                                                       United States District Judge
